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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

GOULSTON & STORRS PC,
Plaintiff, Case No.: 1:23-cv-10290-ER
v. [PROPOSED] JUDGMENT
PHILIP PROUJANSKY,
Defendant.

Upon Plaintiff Goulston & Storrs PC’s (“Plaintiff”) motion dated September 5,
2024, Doc. 18, to enforce the settlement agreement (the “Settlement Agreement”) between

Plaintiff and Defendant Philip Proujansky (“Defendant”), the Court hereby renders Judgment as
follows:

1. Judgment is entered in favor of Plaintiff and against Defendant as follows:

a. Plaintiff is awarded the sum of $414,842.80 for Defendant’s failure to pay
the remainder of the Past Due Amount (as defined in the Settlement
Agreement), plus interest at the rate of eight percent (8%) from September
1, 2024 through the date of entry of judgment.

b. Plaintiff is awarded the sum of $45,343.50 for invoices issued by Plaintiff
to Defendant for the New Services (as defined in the Settlement
Agreement), plus interest at the rate of nine percent (9%) from September
1, 2024 through the date of entry of judgment. See CPLR §§ 5001, 5004.

2. This Court expressly finds that there is no just reason for delay, and expressly

directs the entry of final judgment.
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SO ORDERED:

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Edgardo Ramos,U.S.D.J.
Dated: September 25, 2024

New York, New York
